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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. 15-167 DB

10          v.                                           DETENTION ORDER

11 MARYSA R. COMER,

12                                Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant is charged with conspiring to engage in sex trafficking using force, fraud or

18 coercion. The government proffered that defendant entices and coerces unsophisticated women

19 and children and that his actions spans numerous states. The complaint alleges defendant

20 engaged in conduct spanning the, preyed on individuals with developmental disabilities, and

21 used actual physical force. The government proffered that defendant was contacted by law

22 enforcement and advised that there were pending charges and that she should turn herself in. In

23 response, the defendant left the state. She was eventually arrested in Chicago.



     DETENTION ORDER - 1
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 1          It is therefore ORDERED:

 2          (1)    Defendant shall be detained pending trial and committed to the custody of the

 3 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 4 from persons awaiting or serving sentences, or being held in custody pending appeal;

 5          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 6 counsel;

 7          (3)    On order of a court of the United States or on request of an attorney for the

 8 Government, the person in charge of the correctional facility in which Defendant is confined

 9 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

10 connection with a court proceeding; and

11          (4)    The Clerk shall provide copies of this order to all counsel, the United States

12 Marshal, and to the United States Probation and Pretrial Services Officer.

13          DATED this 29th day of April, 2015.

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                                                                 A
                                                         BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge
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     DETENTION ORDER - 2
